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MOR-‘l UNITED STATES BANKRUPTCY COURT
cAsENAME' Bandoe lnc. PEnnoNnATE.- 2128118
cAsE NuMaER.~ 18-30849 nrsmicr oF mms: Southem
PROPosEv PLAN oATE: orv:sloN,- Houston
MONTHL Y OPERA TING REFORT SUMMARY FOR MONTH Jl.me 2018

    

 

 

 

 

 

 

 

 

 

 

 

 

***The original ofthis document must be filed with the Uni\ed States Bankruptcy Court and a copy must be sent to the United States Trustee***
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case NAME: Bendco, |rm,
cAsE NUMBER: 18-3084‘3

COMPARATIVE SHEETS

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cAse NAME: Ber\cico‘ |nc.
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COMPARATIV.E BA

 

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cAsE NAME: Bendco. |nc.
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cAse numazm 13-30849

AGING OF POS]`-PET[`I'[UN LMBILIT|ES
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case NAME: Bendco. inc.
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sE NAME: Benc|¢:<:¢l |nc.
se NuMeeR: 18-30849

 

110'I‘HER DISBURSEMENTS

Cost of sales

Genera.l & administrative expenses
Property Tax

G & A Parlners

Ascentium Capinal

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Addemlum to MOR-'?

other Caeh Receip!s
G & A Oulsourclng refund

 

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Mareh 2018 Aprll 2018 May 2010 June 2018 DATE
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$16,827.89 $5,515.02 $10,041.92 $37,036.89 $0.00 $0.00 $69,421.72
$0.00 $10,000.00 $22,000.00 $1 1,000.00 $43,000.00
$0.00 $11,688.20 $29,634.46 $0.00 $41,322.66
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$42.‘122.95 Th|s amount was refunded by G & A Ouisourclng
on May 4 wi!h not§ce that they were apply|r\g 311
other payments received post-peilt!on ($37.699.71}

to amounts owed predpefit§on.

The refund amount has been shown as a post-

pelft|orl l|ab|||ly on the balance sheat.

 

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cAse MME: Bendco |nc.
GAEE NuNlnER: 18-30849

CASH ACCOUNT RECONCILIATION
MONTH OF .lune 2010

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TOTAL DISBURSEMENTS ones on MOR-v

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cAsE NAMF.: Bandno inc.
case nut-mem 18-30849

PAYMENTS TO INSIDERS AND PROFESSIONALS

Oflhe \o!al disbu:scmenls shown for the monlh, list the amount paid to |nsld¢rs (as denned in Sec\ion 101(31)(A)¢(F)of11m U.S. Bunkmptcy Code} and 1113 pwl'ess!nnals.

 

    

March 2018 Aprll 2018 May 2018 .lune 2018
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$6,250.00
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Mnl'cb 2018 Apr!l 2018

PROFESSIONALS

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